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 4   Attorney for Defendant
     BINH LAM
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:11-CR-00056 LKK
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   ALEX LIAO, et al.,
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff, and
18   Michael E. Hansen, attorney for defendant Binh Lam, that the previously-scheduled status
19   conference date of June 11, 2013, be vacated and the matter set for status conference on July 9
20   2013, at 9:15 a.m.
21          This continuance is requested to allow counsel additional time to review discovery with
22   the defendant, to examine possible defenses and to continue investigating the facts of the case.
23          The Government concurs with this request.
24          Further, the parties agree and stipulate the ends of justice served by the granting of such
25   a continuance outweigh the best interests of the public and the defendant in a speedy trial and
26   that time within which the trial of this case must be commenced under the Speedy Trial Act
27   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
28   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’


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 1   stipulation, June 7, 2013, to and including July 9, 2013.
 2           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 3           IT IS SO STIPULATED.
 4   Dated: June 7, 2013                                   Respectfully submitted,
 5                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 6                                                         Attorney for Defendant
                                                           BINH LAM
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     Dated: June 7, 2013                                   BENJAMIN B. WAGNER
 8                                                         United States Attorney
 9                                                         By: /s/ Michael E. Hansen for
                                                           TODD LERAS
10                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
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14                                               ORDER
15           The Court, having received, read, and considered the stipulation of the parties, and
16   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
17   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
18   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
19   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
20   specifically finds that the failure to grant a continuance in this case would deny defense
21   counsel to this stipulation reasonable time necessary for effective preparation, taking into
22   account the exercise of due diligence. The Court finds that the ends of justice to be served by
23   granting the requested continuance outweigh the best interests of the public and the defendant
24   in a speedy trial.
25           The Court orders that the time from the date of the parties’ stipulation, June 7, 2013, to
26   and including July 9, 2013, shall be excluded from computation of time within which the trial
27   of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. section
28   3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to prepare). It is


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 1   further ordered that the June 11, 2013, status conference shall be continued until July 9, 2013,
 2   at 9:15 a.m.
 3          IT IS SO ORDERED.
 4   Dated: June 7, 2013
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     Stipulation and Order to Continue Status Conference
